Case 24-10082   Doc 1   Filed 01/16/24 Entered 01/16/24 16:12:24   Desc Main
                           Document    Page 1 of 7
Case 24-10082   Doc 1   Filed 01/16/24 Entered 01/16/24 16:12:24   Desc Main
                           Document    Page 2 of 7
                      Case 24-10082                    Doc 1         Filed 01/16/24 Entered 01/16/24 16:12:24                                      Desc Main
                                                                        Document    Page 3 of 7

 Fill in this information to identify the case:
 Debtor name Freedom Wind Tunnel, LLC
 United States Bankruptcy Court for the: DISTRICT OF MASSACHUSETTS                                                                                    Check if this is an

 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Alares Architects &                                            Trade debt                                                                                                $64,983.00
 Engineers
 248 Copeland Street
 Quincy, MA 02169
 Arthur J Gallagher &                                           Trade debt                                                                                                $59,474.00
 Co
 470 Atlantic Avenue
 Boston, MA 02210
 CLA                                                            Trade debt              Contingent                                                                        $28,159.00
 (CliftonLarsenAllen)                                                                   Unliquidated
 700 Pleasant St 4th                                                                    Disputed
 Floor
 New Bedford, MA
 02740
 Courtney McCarthy                                              Wages                                                                                                     $23,103.00
 63 S Grove Street
 Foxboro, MA 02035
 DEO Associates                                                 Trade debt                                                                                              $244,400.00
 44 Clam Pudding
 Plymouth, MA 02360
 Eagle Engineering                                              Trade debt              Contingent                                                                      $126,423.00
 Corp.                                                                                  Unliquidated
 8869 Citation Road
 Essex, MD 21221
 Instabrite Mobile                                              Trade debt                                                                                                $16,000.00
 Washing Inc.
 PO Box 148
 Whitman, MA 02382
 Martin Bencher USA                                             Trade debt              Unliquidated                                                                    $300,000.00
 LLC
 21 Fadem Rd #14
 Springfield, NJ 07081
 Martins Electric LLC                                           Trade debt                                                                                                $30,100.00
 62 Sherman Ave
 Seekonk, MA 02771




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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                      Case 24-10082                    Doc 1         Filed 01/16/24 Entered 01/16/24 16:12:24                                      Desc Main
                                                                        Document    Page 4 of 7


 Debtor    Freedom Wind Tunnel, LLC                                                                           Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 MAS Building &                                                 Trade debt              Unliquidated                                                                    $196,258.00
 Bridge
 18 Sharon Ave
 Norfolk, MA 02056
 Premier Mechanical                                             Trade debt              Unliquidated                                                                    $321,825.00
 29 Mystic Ave                                                                          Disputed
 Somerville, MA 02145
 Robert Clark                                                   Subordinated Note                                                                                       $500,000.00
 200 Reservoir St.
 North Attleboro, MA
 02760
 Robert Parish                                                  Business Loan                                                                                           $225,000.00
 3238 Players Club
 Circle
 Memphis, TN 38125
 STI Inc.                                                       Trade debt              Contingent                                                                      $170,000.00
 13766 Hawthorne
 Boulevard
 Hawthorne, CA
 90250
 TCF Law Group,                                                 Legal Fees                                                                                                $61,310.00
 PLLC
 21 Pleasant Street,
 Suite 237
 Attn: Neil McLaughlin
 Newburyport, MA
 01950
 The Wind Tunnel                                                Trade debt                                                                                            $1,030,851.00
 Company
 8869 Citation Road
 Essex, MD 21221
 Trane Technologies                                             Trade debt              Contingent                                                                      $206,324.00
 2313 S 20th Street
 La Crosse, WI 54601
 Ty Swansboro                                                   Wages                                                                                                     $19,874.00
 63 S Grove Street
 Foxboro, MA 02035
 Vertical DWC LLC                                               Trade debt              Unliquidated                                                                      $24,548.00
 P.O. Box 390667
 Business Center
 Logistics City,
 Dubai Aviation City
 Dubai U.A.E.
 World Insurance                                                Property Insurance      Unliquidated                                                                      $77,817.00
 50 Prospect St                                                 Premiums
 Waltham, MA 02453




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

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Case 24-10082   Doc 1   Filed 01/16/24 Entered 01/16/24 16:12:24   Desc Main
                           Document    Page 5 of 7


                         Alares Architects & Engineers
                         248 Copeland Street
                         Quincy, MA 02169


                         Arthur J Gallagher & Co
                         470 Atlantic Avenue
                         Boston, MA 02210


                         Batten Bros Signage
                         893 Main Street
                         Wakefield, MA 01880


                         CLA (CliftonLarsenAllen)
                         700 Pleasant St 4th Floor
                         New Bedford, MA 02740


                         Courtney McCarthy
                         63 S Grove Street
                         Foxboro, MA 02035


                         DEO Associates
                         44 Clam Pudding
                         Plymouth, MA 02360


                         Eagle Engineering Corp.
                         8869 Citation Road
                         Essex, MD 21221


                         Erland Construction Inc.
                         71 3rd Ave
                         Burlington, MA 01803


                         Hanscom Federal Credit Union
                         25 Porter Road, Suite 100
                         Littleton, MA 01460-1434


                         Instabrite Mobile Washing Inc.
                         PO Box 148
                         Whitman, MA 02382


                         Martin Bencher USA LLC
                         21 Fadem Rd #14
                         Springfield, NJ 07081


                         Martins Electric LLC
                         62 Sherman Ave
                         Seekonk, MA 02771


                         MAS Building & Bridge
                         18 Sharon Ave
                         Norfolk, MA 02056


                         Premier Mechanical
                         29 Mystic Ave
                         Somerville, MA 02145
Case 24-10082   Doc 1   Filed 01/16/24 Entered 01/16/24 16:12:24   Desc Main
                           Document    Page 6 of 7


                         Robert Clark
                         200 Reservoir St.
                         North Attleboro, MA 02760


                         Robert Parish
                         3238 Players Club Circle
                         Memphis, TN 38125


                         STI Inc.
                         13766 Hawthorne Boulevard
                         Hawthorne, CA 90250


                         TCF Law Group, PLLC
                         Attn: Neil McLaughlin
                         21 Pleasant Street, Suite 237
                         Newburyport, MA 01950


                         The Wind Tunnel Company
                         8869 Citation Road
                         Essex, MD 21221


                         Trane Technologies
                         2313 S 20th Street
                         La Crosse, WI 54601


                         Ty Swansboro
                         63 S Grove Street
                         Foxboro, MA 02035


                         Vertical DWC LLC
                         P.O. Box 390667
                         Business Center Logistics City, Dubai Av


                         World Insurance
                         50 Prospect St
                         Waltham, MA 02453
                  Case 24-10082                      Doc 1            Filed 01/16/24 Entered 01/16/24 16:12:24             Desc Main
                                                                         Document    Page 7 of 7



                                                                     United States Bankruptcy Court
                                                                          District of Massachusetts
  In re      Freedom Wind Tunnel, LLC                                                                      Case No.
                                                                                      Debtor(s)            Chapter    11




                                               CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Freedom Wind Tunnel, LLC in the above captioned action, certifies that the following
is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any
class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:
 Eagle Engineering Corp.
 8869 Citation Road
 Essex, MD 21221
 Freedom Holding LLC
 8869 Citation Road
 Essex, MD 21221




     None [Check if applicable]




  January 16, 2024                                                       /s/ Jesse Redlener
 Date                                                                    Jesse Redlener
                                                                         Signature of Attorney or Litigant
                                                                         Counsel for Freedom Wind Tunnel, LLC
                                                                         Ascendant Law Group, LLC
                                                                         2 Dundee Park Drive
                                                                         Suite 102
                                                                         Andover, MA 01810
                                                                          Fax:
                                                                         jredlener@ascendantlawgroup.com




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